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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

KEITH MUMPHREY,                             :
                                            : Case No. 1:18-cv-00576-JTN-ESC
       PLAINTIFF,                           :
                                            :
v.                                          :
                                            :
MICHIGAN STATE UNIVERSITY, et al.,          :
                                            :
       DEFENDANTS.                          :
                                            :



            SUBSTITUTION OF ATTORNEY & NOTICE OF APPEARANCE


       Notice is hereby given that, subject to approval by the Court, Defendant Elizabeth

Abdnour substitutes Eric K. Combs of Dinsmore & Shohl LLP as counsel of record in place of

Lee T. Silver and Michael L. Gutierrez of Silver & Van Essen PC.

/s/ Eric K. Combs
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/s/ Lee T. Silver
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IT IS SO ORDERED.

Date: March 11, 2019                       /s/ Janet T. Neff
                                         __________________________________
                                         Janet T. Neff
                                         U.S. District Court Judge
